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13
                                      UNITED STATES DISTRICT COURT
14
                                      EASTERN DISTRICT OF CALIFORNIA
15
                                             FRESNO DIVISION
16
        NAOKO ITO, et al.,                          )      Case No.: 06-CV-01135-AWI-DLB
17                                                  )
                        Plaintiffs,                 )
18                                                  )      STIPULATION &
                vs.                                 )      ORDER CONTINUING HEARING ON
19                                                  )      CARSON’S MOTION FOR
        BRIGHTON/SHAW, INC., et al.,                )      RECONSIDERATION
20                                                  )
                        Defendants.                 )      Date: July 13, 2009
21                                                  )
                                                    )      Time: 1:30pm
22      and related cross-claims.                   )
                                                    )      Dept: Crtrm 2
23                                                  )
                                                    )      Judge: Anthony W. Ishii
24                                                  )

25
26          IT IS HEREBY STIPULATED by and between Defendant and Cross-Complainant,
27
     Robert Carson and Cross-Defendant, Craig A. Davis, through their counsel of record that:
28
             STIPULATION & ORDER CONTINUING HEARINGS ON CARSON’S MOTION FOR RECONSIDERATION

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 1          1.      Good cause exists to continue the hearing date on the motion for reconsideration,
 2
     as Defendant/Cross-Claimant Robert Carson and his counsel are unavailable to attend the hearing
 3
     for reconsideration currently set for July 13, 2009.
 4
 5          2.      Cross-Claimants counsel Thornton Davidson, Esq., is scheduled to attend
 6   mediation in New York in the matter of Carey v. Life Insurance Company of North America,
 7   USDC Eastern District of New York Case No.:2:09-CV-716, on July 14, 2009, and his flight
 8   leaves early morning on July 13, 2009.
 9          3.      Therefore the parties stipulate that:
10
                            A.      Defendant and Cross-Claimant, Robert Carson’s Motion for
11
                            Reconsideration be continued to Tuesday, September 8, 2009 (as a result
12
                            of the Labor Day holiday) at 1:30 p.m., in Courtroom 2.
13
14
     Dated: July 7, 2009                           THORNTON DAVIDSON & ASSOCIATES
15
16
                                                   By:______/S/____________________
17
                                                   Thornton Davidson
18                                                 Attorney for Defendant/Cross-Complainant
                                                   ROBERT CARSON
19
20   Dated: July 7, 2009                           McCORMICK, BARSTOW, SHEPPARD
                                                   WAYTE & CARRUTH, LLP
21                                                 By:______/S/____________________
22
23                                                 Marshall C. Whitney
                                                   Attorney for Cross-Defendant
24                                                 CRAIG A. DAVIS
25
26
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28
             STIPULATION & ORDER CONTINUING HEARINGS ON CARSON’S MOTION FOR RECONSIDERATION

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 1                                              ORDER
 2
     IT IS SO ORDERED.
 3
     Dated:     July 7, 2009                         /s/ Anthony W. Ishii
 4   0m8i78                                 CHIEF UNITED STATES DISTRICT JUDGE
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              STIPULATION & ORDER CONTINUING HEARINGS ON CARSON’S MOTION FOR RECONSIDERATION

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